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1                                                                     Judge Richard A. Jones

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5                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WASHINGTON
6                                     AT SEATTLE

7

8    UNITED STATES OF AMERICA,            )             No. CR14-00198RAJ
                                          )
9                              Plaintiff, )
                                          )
10
                vs.                       )             ORDER CONTINUING
11                                        )             PRETRIAL MOTIONS DUE
                                          )             DATE TO MARCH 19, 2015
12   DOMINGO VENEGAS-RAMIREZ.             )
                                          )
13                           Defendant. )
                                          )
14   _________________________________ _ )

15

16              Domingo Venegas-Ramirez, through his appointed counsel, Michael G.

17   Martin, and the United States of America, through Assistant United States Attorney Sarah
     Y. Vogel, having agreed to a continuance of the pretrial motions date from March 12,
18
     2015 to March 19, 2015, the Court finds that this continuance necessary because of the
19
     complex and extended nature of the evidence and discovery in this case, and further finds
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     that this continuance may conserve court otherwise scarce court resources due to the
21
     ongoing negotiations to resolve this matter short of trial and prior to the filing of any
22   pretrial motions, now, therefore,



                                                                    Michael G. Martin
                                                                    Siderius Lonergan & Martin LLP
     ORDER CONTINUING PTM DUE DATE                                  500 Union Street, Suite 847
     (Venegas-Ramirez, CR14-00198RAJ) - 1                           Seattle, WA 98101
                                                                    (206) 624-2800 FAX (206) 624-2805
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                IT IS HERBEY ORDERED that the parties’ Stipulated Motion to Continue
2
     Pretrial Motions Due Date (Dkt. #78) is GRANTED. All pretrial motions, including
3    motions in limine, shall be filed no later than March 19, 2015.
4               DATED this 6th day of March, 2015.

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6
                                                      A
                                                      The Honorable Richard A. Jones
                                                      United States District Judge
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                                                                  Michael G. Martin
                                                                  Siderius Lonergan & Martin LLP
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